Case 2:05-cr-20118-SH|\/| Document 10 Filed 08/24/05 Page 1 o'f`6 PagelD 9

 

 

uNiTED sTATEs DisTnlcT counT 111 F, q a_.;;,
wEsTEnN DisTRlcT oi= TENNEssEE , ,
MEMPHls DlvisloN 05 iitii; 2f1 Pti 3= la
uNlTED sTATEs oF AMEFich 1
-. .,(..t- _TCUURF
_V_ 04_20364_01_Ma \r"LJ Of' ESN, =z'.!!{.“.l,`r€p;`i'fs;gi;

05-20118-01-Nla
WlLL|AN| lVl. BERRY
Needum Louis German ||| FPD
Defense Attorney
200 Jefferson Avenue, Suite 200
Memphis Tennessee 38103

 

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of each indictment on l\/lay 11, 2005. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count
Titie & section N_at.le_O_fM §§Mlud_ed MM(§)
18 u.s.c. § 2113(@) sank nobbery 08/13/2004 1 104-203541
18 u.s.c. § 2113(a) sank nobbery 08/14/2004 1 105-20118)

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fieform Act of 1984 and the Nlandatory
Victims Restitution Act of 1996.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. 501 -84-7669 Date of imposition of Sentence:
Defendant’s Date of Birth'. 03/23/1970 August 19, 2005
Deft’s U.S. l\/larshal No.: 19836-076

Defendant’s Residence Address:
4929 Nelly FiOaC|
l\/lemphis, TN 38109

A/%M\-

SANIUEL H. lVIAYS, JFi.
UN|TED STATES DlSTFi|CT JUDGE

 

This document entered on the dool<et?i:a;in co%ij:§iin¢;@ AugUStH_qH_’ 2005
with Ftuie 55 and/or 32(0} FRCrF‘ on /

Case 2:05-cr-20118-SH|\/| Document 10 Filed 08/24/05 Page 2 of 6 PagelD 10

Case No: 04-20364-01-Ma
Defendant Name: Wi|liam |V|. Berry Page 2 of 5

lNlPF{|SONNlENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of forty-one (41) months on each count, to run
concurrently

The defendant is remanded to the custody of the United States lVIarsha|.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgmentl
UN|TED STATES l\/lAFiSl-iAL
By:

 

Deputy U.S. l\/larshal

Case 2:05-cr-20118-SHl\/l Document 10 Filed 08/24/05 Page 3 of 6 PagelD 11

Case No'. 04-20364-01-Ma
Defendant Name: Wi|tiam Nl. Berry Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of three (3) years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPEF{VIS|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment;
6, The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places Where controlled substances are illegally sold, used,
distributed, or administered;

8. `!'he defendant shall riot associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

Case 2:05-cr-20118-SHl\/l Document 10 Filed 08/24/05 Page 4 of 6 PagelD 12

Case No: 04-20364-01-|\/|3
Defendant Name: Wil|iam lVl. Berry Page 4 Of 5

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the oourt;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal lvlonetary Penalties sheet of this judgment

ADDIT|ONAL COND|T|ONS OF SUPEFlV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependency which may include testing for the detection of substance use or abuse Further,
the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation Officer.

2. The defendant shall be prohibited from incurring new credit charges, opening additional lines
of credit, or making an obligation for any major purchases without approval of the Probation
Officer.

3. The defendant shall provide the Probation Officer access to any requested financial
information

4. The defendant shall seek and maintain lawful full-time employment

5. The defendant shall pay restitution in regular monthly installments of not less than 10% of

gross monthly income.

6. The defendant shall notify the U.S. Attorney and the Court of any material change in
economic circumstances that may affect defendant’s ability to pay restitution.

7. The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

Case 2:05-cr-20118-SHl\/l Document 10 Filed 08/24/05 Page 5 of 6 PagelD 13

Case No: 04-20364-01-|\/|3
Defendant Name: William N|. Berry Page 5 of 5

CR|M|NAL |VlONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The interest
requirement is waived. Ali of the payment options in the Schedule of Payments may be
subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Tota| Fine Tota| Restitution

$200.00 $7,802.80

The Special Assessment shall be due immediately

FINE

No fine imposed

RESTITUT|ON

Restitution in the amount of $7,802.80 is hereby ordered. The defendant shall make
restitution to the following victims in the amounts listed below.

Priority Order

Tota| Amount Amount of or Percentage
Name 01 pal[ee of Loss Restitution Orclered of Payment
First Tennessee Bank $4,148.80 $4,148.80
Ftegions Bank $3,654.00 $3,654.00

|f the defendant makes a partial payment each payee shall receive an approximately
proportional payment unless specified othen~ise in the priority order or percentage payment column
above.

The amount of loss and the amount of restitution ordered will be the same unless, pursuant
to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is reflected in the
Statement of Fleasons page

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CR-201 18 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

Needum Louis Germany
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

i\/lemphis7 TN 38103

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

